                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                          WESTERN DIVISION


ORLANDO KILCREASE                                          PLAINTIFF



V.                                           NO. 5:18-CV-34-DCB-MTP



UNITED STATES DEPARTMENT OF AGRICULTURE,
SONNY PERDUE, and STEVEN PETERSON                         DEFENDANTS


                         ORDER AND OPINION



     The United States Department of Agriculture, Secretary of

Agriculture   Sonny   Perdue,   and   Farm   Service   Agency   Acting

Administrator Steven Peterson move the Court to dismiss Orlando

Kilcrease’s complaint for failure to state a claim. For the reasons

that follow, the motion is DENIED.


                             Background

     This employment-discrimination dispute arises from the United

States Department of Agriculture’s decision not to hire Orlando

Kilcrease to fill a loan specialist position.

     Kilcrease is a 51 year-old African-American male and a 17-

year veteran of the United States Department of Agriculture Farm

Service Agency. (Doc. 1, ¶¶ 3, 8). For a time, Kilcrease served as
the   chairman   of   the   Mississippi   Farm   Service   Agency   State

Committee. (Doc. 1, ¶ 8).

      In March 2016, the United States Department of Agriculture

Farm Service Agency posted an opening for a loan specialist

position. (Doc. 1, ¶ 10). Kilcrease applied for the position. (Doc.

1, ¶ 10).

      A five-member interview panel reviewed applications for the

position. (Doc. 1, ¶ 12). Each member of the panel was white and

between the ages of 43 and 62. (Doc. 1, ¶ 12). The panel recommended

four white applicants for the position, two of whom were less than

40 years old. (Doc. 1, ¶ 13). Kilcrease sued, alleging race and

age discrimination. (Doc. 1).

      The United States Department of Agriculture, Perdue, and

Peterson now move the Court to dismiss Kilcrease’s complaint under

Federal Rule of Civil Procedure 12(b)(6). (Doc. 6). They argue

that Kilcrease’s complaint fails to allege plausible claims for

race- and age-based discrimination because the complaint lacks

factual allegations linking Kilcrease’s race or age to the United

States Department of Agriculture’s decision not to hire him. (Doc.

7, p. 3).

      Defendants’ motion is untimely: Defendants moved to dismiss

seven days after answering Kilcrease’s complaint. (Docs. 3, 6). So

the Court construes the motion as a Federal Rule of Civil Procedure

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12(c) motion for judgment on the pleadings. See, e.g., Yakovets v.

Bailin, Civ. A. No. JKB-13-3439, 2014 WL 279697, at *1 (D. Md.

Jan. 23, 2014); Jenkins v. Allied Interstate, Inc., Civ. A. No.

5:08-CV-125-DCK, 2009 WL 3157399, at *2 (W.D. N.C. Sept. 28, 2009);

Bennerson v. City of New York, Civ. A. No. 10182-RWS, 2004 WL

902166, at *3 (S.D.N.Y. Apr. 28, 2004). Defendants’ failure to

timely file a Rule 12(b) motion is inconsequential because the

Rule 12(c) and Rule 12(b)(6) standards are the same. Great Plains

Trust Co. v. Morgan Stanley Dean Witter & Co., 313 F.3d 305, 318

n.8 (5th Cir. 2002).

      Kilcrease did not respond to Defendants’ motion. See L. U.

CIV. R. 7(b)(4).1


                                      I

      To   overcome   Defendants’    motion,    Kilcrease    must   allege   a

plausible claim for relief. Romero v. City of Grapevine, Tex., 888

F.3d 170, 176 (5th Cir. 2018) (citing Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009)). A claim is plausible if it is pleaded with

factual content that allows the Court to reasonably infer that

Defendants are liable for the misconduct alleged. Edionwe v.




      1Local Uniform Civil Rule 7(b)(4) provides that “[c]ounsel for respondent
must, within fourteen days after service of movant’s motion and memorandum
brief, file a response and memorandum brief in support of the response.”

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Bailey, 860 F.3d 287, 291 (5th Cir. 2017) (citing Iqbal, 556 U.S.

at 678).

     In    ruling    on   Defendants’      motion,   the     Court   accepts   the

complaint’s well-pleaded facts as true and views them in the light

most favorable to Kilcrease. Midwest Feeders, Inc. v. Bank of

Franklin, 886 F.3d 507, 513 (5th Cir. 2018).


                                          II

     Kilcrease attempts to allege claims for race- and age-based

discrimination       against        the   United     States     Department      of

Agriculture,     Secretary     of    Agriculture     Sonny    Perdue,   and    Farm

Service Agency Acting Administrator Steven Peterson.2 The Court

addresses each claim in turn.


                                          A

     Title VII of the Civil Rights Act of 1964 prohibits a federal

agency from discriminating against a job applicant based on his

race. 42 U.S.C. § 2000e-16.

     To plead a plausible racial-discrimination claim, Kilcrease

must allege facts that allow the Court to reasonably infer that

Defendants discriminated against him based on his race. 42 U.S.C.

§ 2000e-16; Edionwe, 860 F.3d at 291. But he need not plead each



     2   Kilcrease sued Perdue and Peterson in their official capacities.


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element of his prima facie case. Swierkiewicsz v. Sorema N.A., 534

U.S. 506, 511 (2002).3

      Kilcrease       alleges   that     an    all-white         interview      panel

recommended     four   white    applicants     to     fill   a   loan    specialist

position for which Kilcrease had been rated “best qualified.”

Because Kilcrease was rated “best qualified,” it follows that the

white     applicants   the   interview      panel   recommended         were    either

equally or less qualified. Viewed in Kilcrease’s favor, these

allegations allow the Court to reasonably infer that the reason

the all-white interview panel recommended four white applicants of

equal or inferior qualifications was “based on” Kilcrease’s race.

See 42 U.S.C. § 2000e-16.

      To be clear, the allegation that an all-white decision-making

body recommended four white applicants over Kilcrease is not,

standing     alone,     sufficient     to     state     a    plausible         racial-

discrimination claim. The salient allegation is that Kilcrease was

rated “best qualified” for the position. That allegation negates

a non-discriminatory inference the Court could otherwise draw from

the interview panel’s hiring decision: That Kilcrease was passed

over because he was less qualified than his white co-applicants.



      3 Swierkiewicsz was decided before Bell Atlantic Corp. v. Twombly, 550
U.S. 544 (2007) and Ashcroft v. Iqbal, 556 U.S. 662 (2009), but remains good
law. See, e.g., Gordon v. United States Capitol Police, 778 F.3d 158, 162 (D.C.
Cir. 2015) (observing that Twombly reaffirmed Swierkiewicsz); Rodriguez-Reyez
v. Molina-Rodriguez, 711 F.3d 49, 54 (1st Cir. 2013) (collecting cases).

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     Because     Kilcrease      has    pleaded      a    plausible     racial-

discrimination   claim,   the      Court   DENIES    Defendants’     motion   to

dismiss the claim.


                                      B

     The federal-sector provision of the Age Discrimination in

Employment Act    prohibits federal agencies from discriminating

against a job applicant who is at least 40 years old based on his

age. 29 U.S.C. § 633(a).

     Kilcrease need not allege each element of a prima facie case

of age discrimination to defeat Defendants’ Rule 12(b)(6) motion.

Swierkiewicz,    405   U.S.   at    510;   Haskett      v.   Continental   Land

Resources, L.L.C., 668 F. App’x 133, 134 (5th Cir. Aug. 23, 2016)

(per curiam) (unpublished). But the elements do guide the Court’s

analysis. Flores v. Select Energy Services, L.L.C., 486 F. App’x

429, 432 (5th Cir. Aug. 16, 2012) (per curiam) (unpublished).

     To prove a prima facie case of age discrimination, Kilcrease

must show (1) Defendants failed to hire him; (2) he was qualified

for the loan specialist position; (3) he was within the protected

class (age 40 or over) at the time; and (4) a younger person was

hired. Haas v. ADVO Systems, Inc., 168 F.3d 732, 733 (5th Cir.

1999).

     Kilcrease’s complaint alleges (1) the interview panel did not

recommend him for the loan specialist position (Doc. 1, ¶ 13); (2)
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he was rated “best qualified” for the loan specialist position

(Doc. 1, ¶ 11); (3) he was over age 40 at the time (Doc. 1, ¶ 8);

and (4) two of the four applicants recommended were below age 40

(Doc. 1, ¶ 13). Viewed in Kilcrease’s favor, these allegations

suffice to state a claim for age discrimination. See Leal v.

McHugh, 731 F.3d 405, 413 (5th Cir. 2013) (reversing district

court’s Rule 12(b)(6) dismissal of age-discrimination plaintiff’s

complaint and observing that the plaintiff’s “admittedly bare

allegations   sufficiently     state      a    plausible    claim      for    age

discrimination.”).

    Because Kilcrease has pleaded a plausible age-discrimination

claim, the Court DENIES Defendants’ motion to dismiss the claim.


                                    III

    Kilcrease’s    complaint   is    not      the   most   detailed.    But    it

contains allegations which, viewed in Kilcrease’s favor, suffice

to state plausible claims for race and age discrimination.

    Accordingly,

    IT IS ORDERED that Defendants’ motion (Doc. 6) to dismiss

Kilcrease’s complaint is DENIED.

    SO ORDERED, this the 6th day of August, 2018.

                                          /s/ David Bramlette_________
                                          UNITED STATES DISTRICT JUDGE



                                    7
